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                            DEFENDANTS’ WITNESS LIST
           Aaron H. Fleck Revocable Trust, et al. v. First Western Trust, et al.
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  Witness Name        Description of Testimony           Time on Direct Time on Cross
  Will Call Witnesses
  1. John Sawyer      Mr. Sawyer is FWTB’s Chief
                      Investment Officer and will be
                      called by Defendants to testify
                      about, among other things,
                      FWTB’s management of the
                      Flecks’ investment accounts,
                      the parties’ contracts, tax loss
                      harvesting, and FWTB’s
                      communications with the
                      Flecks.
  2. Andy Godfrey     Mr. Godfrey was a Wealth
                      Advisor at FWTB and will be
                      called by Defendants to testify
                      about, among other things,
                      FWTB’s management of the
                      Flecks’ investment accounts
                      and FWTB’s communications
                      with the Flecks.

  May Call Witnesses
  1. Charlie Bantis   Mr. Bantis is FWTB’s Manager
                      for its Aspen branch and may
                      be called by Defendants to
                      testify about, among other
                      things, FWTB’s management
                      of the Flecks’ investment
                      accounts and FWTB’s
                      communications with the
                      Flecks.
  2. Aaron Fleck      Aaron Fleck is one of the
                      Plaintiffs any may be called by
                      Defendants to testify about,
                      among other things, his
                      claims, the parties’ contracts,
                      tax loss harvesting, and his
                      communications with FWTB.
  3. Barbara Fleck    Barbara Fleck is one of the
                      Plaintiffs and may be called by


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                   Defendants to testify about,
                   among other things, her
                   claims, the parties’ contracts,
                   and her communications with
                   FWTB.
  4. Doug Barker   Mr. Barker is a former FWTB
                   Portfolio Manager and may be
                   called by Defendants to testify
                   about, among other things,
                   FWTB’s management of the
                   Flecks’ investment accounts,
                   the parties’ contracts, tax loss
                   harvesting, and FWTB’s
                   communications with the
                   Flecks.
  5. Leah Sankey   Ms. Sankey is a former FWTB
                   Trust Officer and may be
                   called by Defendants to testify
                   about, among other things, the
                   Flecks’ communications with
                   FWTB and the Flecks’ tax loss
                   carryforwards.
